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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

v.                                        Crim. Action No.: 22CR412

SCOTT MILLER,

                    Defendant.



                                      ORDER

Upon consideration of the defendant’s motion for permission to work at Catoctin
Furnace Liquors, it is hereby

ORDERED that the motion is GRANTED; it is further

ORDERED that the defendant is permitted to attend to work at Catoctin Furnace
Liquors; it is further

ORDERED that the defendant shall provide his schedule to pre-trial services in
advance at a time designated by pre-trial services.
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                                                   Tanya S. Chutkan
                                                   District Judge
